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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  NO. 4:13-CR-00221-02 BRW

LAMONT M. JOHNSON

                                           ORDER

       Defendant Lamont M. Johnson was found incompetent to continue Court proceedings

and a psychiatric report was filed on April 15, 2014. The parties appeared before the Court on

May 20, 2014, and agreed that the defendant should return to the Federal Bureau of Prisons for a

term not to exceed 120 days, to determine if competency can be restored. The United States

Marshal for the Eastern District of Arkansas has informed the Court that defendant has been

designated to FMC, in Butner, NC, for the examination. Accordingly, the United States

Marshal is directed to transport Lamont M. Johnson to FMC in Butner, North Carolina,

forthwith.1

       IT IS SO ORDERED this 23rd day of May, 2014.


                                            /s/ Billy Roy Wilson
                                            UNITED STATES DISTRICT JUDGE




       1
        Based on 18 U.S.C. § 3161(h)(1)(H), time consumed by transportation in excess of ten
(10) days from today is presumed unreasonable under the Speedy Trial Act.
